                   Case 2:24-cv-00103-JHC Document 14 Filed 01/26/24 Page 1 of 4




 1                                                                              THE HONORABLE JOHN H. CHUN
 2

 3

 4

 5

 6

 7                                     UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF WASHINGTON
 8                                              AT SEATTLE

 9   REGINA LEE, on behalf of herself and all                        Case No. 2:24-cv-00103-JHC
     others similarly situated,
10

11                               Plaintiff,
                                                                     STIPULATED MOTION FOR EXTENSION
12            v.                                                     OF TIME
13   FIRST ADVANTAGE BACKGROUND
                                                                     Note On Motion Calendar: January 26, 2024
     SERVICES CORP. and AMAZON.COM,
14
     INC.,
15
                                 Defendants.
16

17

18                                                      STIPULATION

19            Pursuant to Federal Rule of Civil Procedure 6(b), Plaintiff Regina Lee (“Plaintiff”) and

20   Defendants First Advantage Background Services Corp. (“First Advantage”) and Amazon.com,

21   Inc. 1 (“Amazon”) (collectively, “the Parties”), STIPULATE AND AGREE to extend the deadline

22   for First Advantage and Amazon to move, answer, or otherwise respond to the Complaint from

23   January 31, 2024 to March 1, 2024. The stipulation (the “Stipulation”) is based on the following:

24

25
     1
       Amazon.com, Inc. asserts that it is an erroneously named defendant and that Amazon.com Services, LLC is the
26   correct corporate entity, as it is the entity to which Plaintiff applied for employment, as well as the entity that requested
     the consumer report that is referenced in the Complaint.


     STIPULATED MOTION FOR
     EXTENSION OF TIME
     (Case No. 2:24-cv-00103-SEA) - 1
                  Case 2:24-cv-00103-JHC Document 14 Filed 01/26/24 Page 2 of 4




 1           WHEREAS, Plaintiff filed her Complaint in the above action in the Superior Court of the

 2   State of Washington for King County on December 19, 2023;

 3           WHEREAS, Plaintiff served First Advantage and Amazon with copies of the Complaint

 4   on January 4, 2024;

 5           WHEREAS, Amazon filed a Notice of Removal in this Court for the above captioned

 6   action on Janary 24, 2024 [ECF Dkt. No. 1];

 7           WHEREAS, pursuant to Federal Rule of Civil Procedure 81(c)(2)(C), the deadline for First

 8   Advantage and Amazon to move, answer, or otherwise respond to the Complaint is currently

 9   January 31, 2024;

10           WHEREAS, the Parties, by and through their undersigned counsel, hereby stipulate and

11   agree that, to allow First Advantage and Amazon adequate time to investigate and respond to the

12   allegations asserted in the Complaint, First Advantage and Amazon should have until March 1,

13   2024 to answer, move, or otherwise respond to the Complaint.

14           WHEREAS, this is the first request for an extension requested by any party in this matter;

15           WHEREAS, the granting of this Stipulation will not prejudice any party, as Plaintiff has

16   agreed to this extension, and this extension is being sought in good faith and not for delay or any

17   other improper purpose.

18           NOW THEREFORE, the Parties stipulate to the following:

19           1.       To extend the deadline for First Advantage and Amazon to move, answer, or

20   otherwise respond to the Complaint to from January 31, 2024 to March 1, 2024.

21           2.       This Stipulation and Order shall not operate as an admissison of any factual

22   allegation or legal conclusion, nor shall it operate as a waiver, nor affect any right, defense, claim,

23   or objection.

24   ///

25

26   ///


     STIPULATED MOTION FOR
     EXTENSION OF TIME
     (Case No. 2:24-cv-00103-SEA) - 2
               Case 2:24-cv-00103-JHC Document 14 Filed 01/26/24 Page 3 of 4




 1           STIPULATED AND AGREED TO this 26th day of January, 2024.

 2

 3
      TERRELL MARSHALL LAW GROUP                 MORGAN, LEWIS & BOCKIUS LLP
 4    PLLC

 5    By: /s/ Blythe H. Chandler                 By: /s/ Austin Popham
      Blythe H. Chandler, WSBA No. 43387         Austin Popham, WSBA No. 59193
 6    Beth E. Terrell, WSBA No. 26759            1301 Second Avenue, Suite 2800
 7    936 North 34th Street, Suite 300           Seattle, WA 98101
      Seattle, WA 98103                          Phone: (206) 274-6400
 8    Phone: (206) 816-6603                      Email: austin.popham@morganlewis.com
      Email: bchandler@terrellmarshall.com
 9    bterrell@terrellmarshall.com                W. John Lee (Pro Hac Vice Pending)
                                                  Chloe Leigh Keating (Pro Hac Vice Pending)
10                                                2222 Market Street
11    BERGER MONTAGUE PC                          Philadelphia, PA 19103
                                                  Phone: (215) 963-5000
12    Joseph C. Hashmall, (Pro Hac Vice Pending) Email: w.john.lee@morganlewis.com
      E. Michelle Drake (Pro Hac Vice application         chloe.leigh@morganlewis.com
13    forthcoming)
      43 SE Main Street, Suite 505                Attorneys for Defendant Amazon.com, Inc.
14    Minneapolis, MN 55414
15    Phone: (612) 594-5999                       SEYFARTH SHAW LLP
      Email: emdrake@bm.net
16           jhashmall@bm.net
                                                   By: /s/ Andrew R. Escobar
17    Attorneys for Plaintiffs                    Andrew   R. Escobar, WSBA No. 42793
                                                  999 Third Avenue, Suite 4700
18                                                Seattle, WA 98104-4041
                                                  Phone: (206) 946-4910
19                                                Email: aescobar@seyfarth.com

20                                               Counsel for Defendant First Advantage
                                                 Background Services Corp.
21

22

23

24

25

26


     STIPULATED MOTION FOR
     EXTENSION OF TIME
     (Case No. 2:24-cv-00103-SEA) - 3
               Case 2:24-cv-00103-JHC Document 14 Filed 01/26/24 Page 4 of 4




 1                                               ORDER

 2           Dated this 26th day of January, 2024.

 3           IT IS SO ORDERED.

 4

 5                                           UNITED STATES DISTRICT JUDGE JOHN H. CHUN
 6
     Presented by:
 7
      TERRELL MARSHALL LAW GROUP                     MORGAN, LEWIS & BOCKIUS LLP
 8    PLLC
 9    By: /s/ Blythe H. Chandler                     By: /s/ Austin Popham
10    Blythe H. Chandler, WSBA No. 43387             Austin Popham, WSBA No. 59193
      Beth E. Terrell, WSBA No. 26759                1301 Second Avenue, Suite 2800
11    936 North 34th Street, Suite 300               Seattle, WA 98101
      Seattle, WA 98103                              Phone: (206) 274-6400
12    Phone: (206) 816-6603                          Email: austin.popham@morganlewis.com
      Email: bchandler@terrellmarshall.com
13    bterrell@terrellmarshall.com                   W. John Lee (Pro Hac Vice Pending)
14                                                   Chloe Leigh Keating (Pro Hac Vice Pending)
                                                     2222 Market Street
15    BERGER MONTAGUE PC                             Philadelphia, PA 19103
                                                     Phone: (215) 963-5000
16    Joseph C. Hashmall, (Pro Hac Vice Pending)     Email: w.john.lee@morganlewis.com
      E. Michelle Drake (Pro Hac Vice application           chloe.leigh@morganlewis.com
17    forthcoming)
18    43 SE Main Street, Suite 505                   Attorneys for Defendant Amazon.com, Inc.
      Minneapolis, MN 55414
19    Phone: (612) 594-5999                          SEYFARTH SHAW LLP
      Email: emdrake@bm.net
20           jhashmall@bm.net                         By: /s/ Andrew R. Escobar                 .
                                                     Andrew R. Escobar, WSBA No. 42793
21                                                   999 Third Avenue, Suite 4700
      Attorneys for Plaintiffs                       Seattle, WA 98104-4041
22                                                   Phone: (206) 946-4910
                                                     Email: aescobar@seyfarth.com
23
                                                     Counsel for Defendant First Advantage
24                                                   Background Services Corp.
25

26


     STIPULATED MOTION FOR
     EXTENSION OF TIME
     (Case No. 2:24-cv-00103-SEA) - 4
